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 6                        IN THE UNITED STATES DISTRICT COURT
 7                             FOR THE DISTRICT OF ARIZONA
 8
 9    IN RE: Bard IVC Filters Products Liability         No. MDL 15-02641-PHX-DGC
10    Litigation,
                                                         ORDER AND SUGGESTION OF
11                                                       REMAND
12
13
14           This multidistrict litigation proceeding (“MDL”) involves thousands of personal
15    injury cases brought against Defendants C. R. Bard, Inc. and Bard Peripheral Vascular,
16    Inc. (collectively, “Bard”). Bard manufactures and markets medical devices, including
17    inferior vena cava (“IVC”) filters. The MDL Plaintiffs have received implants of Bard
18    IVC filters and claim that they are defective and have caused Plaintiffs to suffer serious
19    injury or death.
20           The MDL was transferred to this Court in August 2015 when 22 cases had been
21    filed. Doc. 1. To date, more than 4,000 cases have been filed. The Court has concluded
22    that 10 mature cases listed on Schedule A should be remanded to the transferor courts.
23    Doc. 11659 at 5. The Court therefore provides this Suggestion of Remand to the United
24    States Judicial Panel for Multidistrict Litigation (the “Panel”).
25           To assist the transferor courts on remand, if ordered by the Panel, this order
26    describes events that have taken place in the mature cases and the MDL as a whole.
27    A copy of this order, along with the case files and materials, will be available to the
28    transferor courts after remand.
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 1    I.     Background.
 2           The IVC is a large vein that returns blood to the heart from the lower body. An
 3    IVC filter is a small device implanted in the IVC to catch blood clots before they reach
 4    the heart and lungs. This MDL involves multiple versions of Bard IVC filters – the
 5    Recovery, G2, G2X, Eclipse, Meridian, and Denali. These are umbrella-shaped devices
 6    that have multiple limbs fanning out from a cone-shaped head. The limbs consist of legs
 7    with hooks that attach to the IVC wall and curved arms to catch or break up blood clots.
 8    Each of these filters is a variation of its predecessor.1
 9           The MDL Plaintiffs allege that Bard filters are more dangerous than other IVC
10    filters because they have higher risks of tilting, perforating the IVC, or fracturing
11    and migrating to vital organs. Plaintiffs further allege that Bard failed to warn patients
12    and physicians about these higher risks. Defendants dispute these allegations, contending
13    that Bard filters are safe and effective, that their complication rates are low and
14    comparable to those of other IVC filters, and that the medical community is aware of the
15    risks associated with IVC filters.
16           As noted, more than 4,000 cases have been filed in this MDL since its inception in
17    2015. By late 2017, the parties completed all common discovery and filed dispositive
18    and Daubert motions.        The Court has ruled on Defendants’ motion for summary
19    judgment on preemption grounds, decided more than a dozen Daubert motions, and
20    resolved summary judgment motions in four bellwether cases. Two bellwether cases
21    were tried earlier this year. One other bellwether case is set for trial this month, and two
22    more in 2019. No cases have settled.
23    II.    Suggestion of Remand.
24           A.     Remand Standard.
25           The power to remand MDL cases rests solely with the Panel. 28 U.S.C. § 1407(a);
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27           1
               For further discussion of IVC filters and their uses, see the Court’s order
28    addressing Defendants’ summary judgment motion on preemption. Doc. 8872 at 1-2.


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 1    see Lexecon Inc. v. Milberg Weiss Bershad Hynes & Lerach, 523 U.S. 26, 28 (1998).
 2    The Panel typically relies on the transferee court to suggest when it should order remand.
 3    J.P.M.L. Rule 10.1(b)(i); see In re Motor Fuel Temperature Sales Practices Litig.,
 4    No. 07-MD-1840-KHV, 2012 WL 1963350, at *1 (D. Kan. May 30, 2012). Indeed, the
 5    Panel “is reluctant to order a remand absent the suggestion of the transferee judge[.]”
 6    J.P.M.L. Rule 10.3(a); see In re Regions Morgan Keegan Sec., Derivative & ERISA
 7    Litig., No. 2:09-md-2009-SHM, 2013 WL 5614285, at *2 (W.D. Tenn. Feb. 28, 2013).
 8    The transferee court may suggest to the Panel that cases be remanded where they are
 9    “ready for trial, or . . . would no longer benefit from inclusion in the coordinated or
10    consolidated pretrial proceedings.” In re Multi-Piece Rim Prods. Liab. Litig., 464 F.
11    Supp. 969, 975 (J.P.M.L. 1979); see In re TMJ Implants Prods. Liab. Litig., 872 F. Supp.
12    1019, 1038 (D. Minn. 1995).
13          B.     Ten Mature Cases Should Be Remanded.
14          In October 2015, the parties identified 13 cases that were sufficiently advanced to
15    be considered for remand. Doc. 174 at 7-9; see Doc. 363 at 2-3. These cases were
16    designated as “mature cases” in the Court’s initial orders. Docs. 519 at 3, 914 at 2.
17    Although the mature cases were more advanced than other cases in the MDL, the parties
18    agreed that they should not be remanded immediately, but instead should remain part of
19    the MDL as possible bellwether cases. Doc. 249 at 6.
20          In February 2016, the Court directed the parties to confer and identify the specific
21    discovery, motion practice, and other litigation steps needed for the mature cases.
22    Doc. 519 at 3. The purpose was to remand these cases as soon as reasonably possible,
23    rather than postponing their disposition until the end of the MDL proceeding. Id.
24          In April 2016, the parties agreed that 3 of the 13 cases should no longer be deemed
25    mature and instead should be treated like all other cases in this MDL. Doc. 1319 at 2.
26    The remaining 10 cases, listed below, continue to be designated as mature cases:
27           Tillman v. C. R. Bard, Inc., No. 3:13-cv-0222 (M.D. Florida)
28           Ocasio v. C. R. Bard, Inc., No. 8:13-cv-01962 (M.D. Florida)


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 1            Cason v. C. R. Bard, Inc., No. 1:12-cv-01288 (N.D. Georgia)
 2            Coker v. C. R. Bard, Inc., No. 1:13-cv-00515 (N.D. Georgia)
 3            Rivera (McClarty) v. C. R. Bard, Inc., No. 4:14-cv-13627 (E.D. Michigan)
 4            Ebert v. C. R. Bard, Inc., No. 5:12-cv-01253 (E.D. Pennsylvania)
 5            Keen v. C. R. Bard, Inc., No. 5:13-cv-05361 (E.D. Pennsylvania)
 6            Smith v. C. R. Bard, Inc., No. 1:13-cv-00633 (E.D. Texas)
 7            Fox v. C. R. Bard, Inc., No. 3:14-cv-00133 (N.D. Texas)
 8            Henley v. C. R. Bard, Inc., No. 2:14-cv-00059 (E.D. Wisconsin)
 9    Id.2
10           In August 2016, the parties stipulated that remand of the mature cases should
11    await completion of expert discovery because such discovery may be relevant in trials of
12    the mature cases. Doc. 3214 at 3. The Court agreed, concluding that general expert
13    disclosure and discovery, and any related Daubert motions, should be handled in this
14    MDL. Doc. 4311 at 2. The Court further concluded that case-specific discovery in the
15    mature cases should await their remand. Id.; see Doc. 8871 at 5.
16           Following the second bellwether trial earlier this year, the Court directed the
17    parties to file memoranda addressing the appropriate time for remand of the mature cases.
18    Doc. 11320 at 3. Defendants argued that the cases should be remanded in 2019 after
19    completion of the remaining bellwether trials. Doc. 11550 at 5-6. Plaintiffs argued that
20    the cases should be remanded now because retaining the cases in the MDL will provide
21    no additional benefits and there is no reason to delay. Doc. 11553 at 7.
22           The Court agrees with Plaintiffs. All common fact and expert discovery in this
23    MDL have been completed, and the Court has ruled on Daubert motions and Defendants’
24    summary judgment motion on preemption. The mature cases are nearly ready for trial
25    and would no longer benefit from inclusion in this MDL. The remaining case-specific
26
             2
27             The cases no longer designated as mature are Conn v. C. R. Bard, Inc., No. 1:13-
      cv-00515 (N.D. Ga.), Milton v. C. R. Bard, Inc., No. 5:14-cv-00351 (N.D. Ga.), and
28    Mintz v. C. R. Bard, Inc., No. 2:14-cv-04942 (E.D.N.Y). Id.


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 1    issues in the mature cases are best left to the transferor courts to resolve. The Court
 2    therefore suggests that the Panel remand the 10 mature cases listed on Schedule A to the
 3    transferor courts for further proceedings. See In re TMJ Implants, 872 F. Supp. at 1038
 4    (suggesting remand of cases that no longer benefited from inclusion in consolidated
 5    pretrial proceedings).
 6    III.   The MDL Proceedings.
 7           A summary of the MDL proceedings to date is provided below to assist the
 8    transferor courts on remand, if ordered by the Panel. Case management orders, discovery
 9    orders, and other significant rulings are listed in Exhibit 1. The status of the remaining
10    case-specific discovery and other pretrial issues for the mature cases, and the estimated
11    time needed to resolve such issues and make the cases ready for trial, as proposed by the
12    parties, are listed in Exhibit 2.
13           A.      Case Management Orders.
14           The primary orders governing pretrial management of this MDL are a series of
15    case management orders (“CMOs”), along with certain amendments. To date, the Court
16    has issued 36 CMOs. These orders are discussed below and can be found on the Court’s
17    website at http://www.azd.uscourts.gov/case-info/bard.
18           B.      Lead and Liaison Counsel.
19           CMO No. 1, entered October 30, 2015, appointed Co-Lead/Liaison Counsel for
20    Plaintiffs (“Lead Counsel”) to manage the litigation on behalf of Plaintiffs, and set out
21    the responsibilities of Lead Counsel. Doc. 248. Plaintiffs’ Lead Counsel has changed
22    since the inception of the MDL. Mr. Ramon Lopez, of Lopez McHugh, LLP, in Newport
23    Beach, California, and Mr. Mark O’Connor, of Gallagher & Kennedy, P.A., in Phoenix,
24    Arizona, are now Lead Counsel for Plaintiffs. Doc. 5285. Mr. Richard North of Nelson
25    Mullins Riley & Scarborough, LLP, in Atlanta, Georgia, is Defendants’ Lead Counsel.
26           C.      Plaintiffs’ Steering Committee and Common Benefits Fund.
27           CMO No. 1 directed the selection and appointment of a Plaintiffs’ Steering
28    Committee (“PSC”) to assist in the coordination of pretrial activities and trial planning.


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 1    Plaintiffs’ Lead Counsel and the PSC together form the Plaintiffs’ Leadership Counsel
 2    (“PLC”). The PSC acts on behalf of, and in consultation with, Plaintiffs’ Lead Counsel
 3    in the management of the litigation. The PLC assists all Plaintiffs in the MDL by
 4    overseeing discovery, appearing in court, attending status conferences, and preparing
 5    motions and responses regarding case-wide discovery matters. CMO No. 1 has been
 6    amended to select and appoint a Plaintiffs’ Executive Committee (“PEC”) to assist Lead
 7    Counsel in the administration, organization, and strategic decisions of the PLC.
 8    Doc. 4016. The configuration of the PSC has changed during the course of the litigation.
 9    See Docs. 248, 4016, 5285.
10          CMO No. 6, entered December 18, 2015, set forth rules, policies, procedures, and
11    guidelines for fees and expenses incurred by attorneys acting for the common benefit of
12    all MDL Plaintiffs. Doc. 372.
13          D.     Master and Short-Form Pleadings.
14          CMO No. 2, entered October 30, 2015, required the creation of a master
15    complaint, a master answer, and templates of short-form complaints and answers.
16    Doc. 249 at 6.   The master complaint and answer were filed December 12, 2015.
17    Docs. 364, 366. They are the operative pleadings for most of the cases in this MDL. The
18    master complaint serves as a long-form complaint giving notice, pursuant to Rule 8, of
19    the allegations that the MDL Plaintiffs assert generally. Doc. 364. The master complaint
20    asserts 17 claims and seeks both compensatory and punitive damages. Id. ¶¶ 166-349.
21          Plaintiff-specific allegations are contained in individual short-form complaints
22    (Doc. 303-2) or certain complaints served on Defendants before the filing of the master
23    complaint. Plaintiffs also provide Defendants with profile forms and fact sheets that
24    describe their individual conditions and claims. Doc. 365 (CMO No. 5, as amended by
25    Doc. 927).
26          The 10 mature cases listed on Schedule A are not governed by the master
27    complaint, but continue to be governed by the complaints and answers (including any
28    amended pleadings) filed in the various transferor courts before the cases were


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 1    transferred to this MDL. Doc. 363 (CMO No. 4, as amended by Doc. 1485). The parties
 2    were not required to exchange profile forms in the mature cases. Doc. 365.
 3           E.     Status Conferences.
 4           Since the inception of the MDL, the Court has held regular status conferences with
 5    Lead Counsel for the parties to discuss issues related to the litigation. The initial case
 6    management conference was held in October 2015. Doc. 246. Deadlines were set for,
 7    among other things, the filing of master and short-form pleadings, profile forms, a
 8    proposed protective order (including Rule 502 provisions), a proposed protocol
 9    governing the production of electronically stored information (“ESI”), as well as
10    deadlines to complete first-phase MDL discovery and address privilege log issues.
11    Doc. 249 (CMO No. 2). Thereafter, the Court held periodic status conferences to ensure
12    that the parties were on task and to address routine discovery issues and disputes. In
13    addition to the status conferences, the Court conducted telephonic hearings to address
14    time-sensitive issues, as well as numerous additional conferences to consider various
15    matters such as hearings on dispositive motions and general case management issues.
16           F.     Discovery.
17                  1.     General Fact Discovery.
18           Prior to the establishment of this MDL, Plaintiffs had conducted substantial
19    common discovery against Bard (including in the mature cases) concerning all aspects of
20    Bard IVC filters, including the design, testing, manufacturing, marketing, labeling, and
21    post-market surveillance of these devices. Bard produced numerous documents and ESI,
22    responded to thousands of written discovery requests, and more than 80 corporate witness
23    depositions were taken. The pre-MDL general fact discovery was made available by
24    Bard to all Plaintiffs in the MDL.
25           This MDL was formed to centralize pretrial proceedings and complete all common
26    fact and expert discovery concerning Bard IVC filters. Doc. 1. CMO No. 8 established a
27    procedure concerning re-deposing witnesses in the MDL. Doc. 519. CMO No. 14
28    established deposition protocols generally. Doc. 2239. The Court allowed additional


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 1    depositions of a handful of corporate witnesses that had been previously deposed, as well
 2    as numerous depositions of other Bard corporate witnesses, including several Rule
 3    30(b)(6) depositions. Docs. 3685, 4311. CMO No. 9 governed the production of ESI and
 4    hard-copy documents. Doc. 1259.
 5           Discovery in the MDL was separated into multiple phases. The parties completed
 6    the first phase of MDL discovery in early 2016. Doc. 519. First-phase MDL discovery
 7    included production of documents related to an FDA inspection and warning letter to
 8    Bard, an updated production of complaint and adverse event files, and an updated version
 9    of Bard’s complaint database relating to IVC filters. Doc. 249. Plaintiffs also conducted
10    a Rule 30(b)(6) deposition concerning the FDA inspection and warning letter, and a
11    deposition of corporate witness Kay Fuller.
12           The parties completed the second phase of MDL fact discovery in February 2017.
13    CMO No. 8 set deadlines for the second phase, which included all common fact and
14    expert issues in the MDL, but not case-specific issues to be resolved after remand.
15    Docs. 249, 519. Second-phase discovery included extensive additional discovery related
16    to Bard’s system architecture for ESI, Bard’s ESI collection efforts, ESI relating to
17    Bard’s IVC filters, and Bard’s national and regional sales and marketing practices.
18    Plaintiffs also deposed two corporate witnesses in connection with Kay Fuller’s
19    allegations that a submission to the FDA regarding the Recovery filter did not bear her
20    original signature. Doc. 1319 (CMO No. 10). Plaintiffs deposed additional corporate
21    witnesses concerning the FDA inspection and warning letter. Id.
22           Bard also produced discovery regarding the sales and marketing materials related
23    to the Simon Nitinol filter (“SNF”), documents comparing filter performance and failure
24    rates to the SNF, and internal and regulatory communications relating to the SNF.
25    Docs. 1319, 10489. The Court denied Plaintiffs’ request to obtain ESI discovery from
26    Bard’s overseas operations. Doc. 3398. The Court denied Defendants’ request to obtain
27    discovery of communications between Plaintiffs’ counsel and NBC related to NBC news
28    stories about the products at issue in this litigation, and third-party financing that may be


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 1    in place with respect to Plaintiffs in this MDL. Docs. 3313, 3314. Plaintiffs were
 2    required to produce communications between Plaintiffs and the FDA related to the FDA
 3    warning letter, but the Court denied Defendants’ request to depose Plaintiffs’ counsel
 4    regarding these communications.       Docs. 3312, 4339.      Bard also produced punitive
 5    damages discovery, and Plaintiffs conducted a Rule 30(b)(6) deposition related to Bard’s
 6    net worth.
 7           All common fact discovery in these cases has now been completed.                Thus,
 8    transferor courts need not be concerned with facilitating general fact discovery on
 9    remand.
10                   2.     Case-Specific Discovery.
11           The parties did not conduct case-specific fact discovery for the 10 mature cases
12    during the MDL proceedings, but instead conducted such discovery in these cases prior to
13    their transfer to the MDL. The Court has concluded that any additional case-specific
14    discovery in the mature cases should await their remand. Docs. 3214 at 3, 8871 at 5. The
15    status of the remaining case-specific discovery for the mature cases is listed in Exhibit 2.
16                   3.     Expert Discovery.
17           CMO No. 8 governed expert disclosures and discovery. Doc. 519. The parties
18    designated general experts in all MDL cases, and case-specific experts in individual
19    bellwether cases. General expert discovery closed on July 14, 2017. Doc. 3685. The
20    parties conducted expert discovery in some of the mature cases prior to their transfer to
21    the MDL. The status of the remaining case-specific expert discovery for the mature cases
22    is listed in Exhibit 2.
23                   4.     Privileged Materials.
24           CMO No. 2 required Defendants to provide to Plaintiffs all privilege logs in
25    compliance with the Federal Rules of Civil Procedure. Doc. 249. The parties were then
26    required to engage in an informal privilege log meet and confer process to resolve any
27    privilege disputes. Defendants produced several privilege logs identifying documents
28    withheld pursuant to the attorney-client privilege, the work-product doctrine, and other


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 1    privileges. The parties regularly met and conferred regarding the privilege logs and
 2    engaged in negotiations regarding certain entries identified by Plaintiffs. As part of that
 3    meet and confer process, Defendants provided Plaintiffs with a small number of these
 4    identified items for inspection and, in some cases, withdrew certain claims of attorney-
 5    client privilege and produced the previously withheld items.
 6           CMO No. 3 governed the non-waiver of any privilege or work-product protection
 7    in this MDL, pursuant to Federal Rule of Evidence 502(d), from Defendants’ disclosure
 8    or production of documents on its privilege logs as part of the meet and confer process.
 9    Doc. 314.
10           In late 2015, Plaintiffs challenged a substantial number of documents on
11    Defendants’ privilege logs. The parties engaged in an extensive meet and confer process,
12    and Defendants produced certain documents pursuant to the Rule 502(d) order.
13    Doc. 314. Plaintiffs moved to compel production of 133 disputed documents. The Court
14    granted the motion in part. Doc. 2813. The parties identified several categories of
15    disputed documents and provided sample documents to the Court for in camera review.
16    The Court denied Plaintiffs’ motion with respect to seven out of the eight categories of
17    documents and found only one of the sample documents in one of the categories to
18    contain unprivileged portions that should be produced.         The Court found all other
19    documents protected by the attorney-client privilege or work product doctrine. The Court
20    directed the parties to use this ruling as a guide to resolve the remaining privilege
21    disputes.
22           Since this ruling, there have been no further challenges to Defendants’ privilege
23    logs. Defendants continued to provide updated privilege logs throughout the discovery
24    process, and the parties met and conferred to resolve privilege disputes. Privilege issues
25    should not be a concern for any transferor court on remand.
26                  5.    Protective Order and Confidentiality.
27           A stipulated protective order governing the designation, handling, use, and
28    disclosure of confidential discovery materials was entered in November 2015. Doc. 269.


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 1    CMO No. 7, entered January 5, 2016, governed redactions of material from additional
 2    adverse event reports, complaint files, and related documents in accordance with the
 3    Health Insurance Portability Act of 1996 (“HIPAA”) and under 21 C.F.R. § 20.63(f).
 4    Doc. 401.
 5            In September 2016, to expedite production of ESI, the parties agreed to a primarily
 6    “no-eyes-on” document production as to relevancy while still performing a privilege
 7    review for this expedited ESI document production. CMO No. 17 (Doc. 3372) modified
 8    the protections and requirements in the stipulated protective order (Doc. 269) and CMO
 9    No. 7 (Doc. 401) for ESI produced pursuant to this process. CMO No. 17 was amended
10    in November 2016. Doc. 4015.
11            G.    Bellwether Cases and Trials.
12            CMO No. 11, entered May 5, 2016, provided for the selection of individual
13    Plaintiffs who would be subject to case-specific discovery and eligible to be part of the
14    bellwether trial process. Doc. 1662. From that group, six cases were selected for
15    bellwether trials. Docs. 5770 (CMO No. 23), 11659 (CMO No. 34). To date, the Court
16    has presided over two bellwether trials: Booker v. C. R. Bard, Inc., No. CV-16-00474,
17    and Jones v. C. R. Bard, Inc., No. CV-16-00782. The Court granted summary judgment
18    in one of the bellwether cases (Doc. 12202), and three other bellwether trials will be held
19    in September 2018 and February and May 2019 (Docs. 11871, 12061 (CMO Nos. 35,
20    36)).
21                  1.     Booker v. C. R. Bard, Inc., No. CV-16-00474.
22            The first bellwether trial concerned Plaintiff Sherr-Una Booker and involved a
23    Bard G2 filter. The filter had tilted, migrated, and fractured. Plaintiff required open
24    heart surgery to remove the fractured limbs and repair heart damage caused by a
25    percutaneous removal attempt.       The Court granted in part Defendants’ motion for
26    summary judgment. Docs. 8873, 8874. The claims for failure to warn, design defect,
27    and punitive damages were tried to a jury over a three-week period in March 2018.
28            The jury found for Plaintiff Booker on her negligent failure-to-warn claim, and in


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 1    favor of Defendants on the design defect and strict liability failure-to-warn claims.
 2    Doc. 10595. The jury returned a verdict of $2 million in compensatory damages (of
 3    which $1.6 million was attributed to Defendants) and $2 million in punitive damages.
 4    Id.; Doc. 10596. The Court denied Defendants’ motion for judgment as a matter of law
 5    and motion for a new-trial. Docs. 10879, 11598. Defendants have appealed to the Ninth
 6    Circuit. Docs. 11934, 11953. Plaintiff has cross-appealed. Doc. 12070.
 7                  2.      Jones v. C. R. Bard, Inc., No. CV-16-00782.
 8           The second bellwether trial concerned Plaintiff Doris Jones and involved a Bard
 9    Eclipse filter.    The Court granted in part Defendants’ summary judgment motion.
10    Doc. 10404. The claims for failure to warn, design defect, and punitive damages were
11    tried to a jury over a three-week period in May 2018. The jury returned a defense
12    verdict. Doc. 11350. Plaintiff has appealed. Docs. 12057, 12071.
13                  3.      Kruse v. C. R. Bard, Inc., Case No. CV-15-01634.
14           Plaintiff Carol Kruse’s case was set for trial in September 2018. The Court
15    granted Defendants’ summary judgment motion on statute of limitations grounds.
16    Doc. 12202.
17                  4.      Other Scheduled Bellwether Trials.
18           Plaintiff Lisa Hyde’s case, Hyde v. C. R. Bard, Inc., No. CV-16-00893, was
19    moved to the September 2018 bellwether slot in lieu of Ms. Kruse’s case. Doc. 11867.
20    Two other bellwether cases are set for trial in February and May 2019. The Court plans
21    to try Tinlin v. C. R. Bard, Inc., No. CV-16-00263, and Mulkey v. C. R. Bard, Inc., CV-
22    16-00853. Doc. 12061. The Court has yet to determine the order of the trials.
23           H.     Key Legal and Evidentiary Rulings.
24           The Court has made many significant rulings in this MDL, some of which affect
25    the mature cases.      The Court provides the following summary of key legal and
26    evidentiary rulings to assist the transferor courts on remand.
27                  1.      Medical Monitoring Class Action Ruling.
28           In May 2016, Plaintiffs’ counsel filed a medical monitoring class action that was


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 1    consolidated with the MDL. See Barraza v. C. R. Bard, Inc., No. CV-16-01374. The
 2    Barraza Plaintiffs moved for class certification for medical monitoring relief on behalf of
 3    themselves and classes of individuals who have been implanted with a Bard IVC filter,
 4    have not had that filter removed, and have not filed a claim or lawsuit for personal injury
 5    related to the filter. Id., Doc. 54. The Court denied the motion. Id., Doc. 95.
 6           The class certification motion recognized that only 16 states permit claims for
 7    medical monitoring. The Court concluded that the classes could not be certified under
 8    Federal Rule of Civil Procedure 23(b)(3) because individual issues would predominate.
 9    Id. at 20-21.3 The Court further concluded that the class could not be certified under
10    Rule 23(b)(2) because the medical monitoring relief primarily constituted monetary
11    rather than injunctive relief, and the class claims were not sufficiently cohesive to permit
12    binding class-wide relief. Id. at 21-32. Finally, the Court concluded that typicality under
13    Rule 23(a)(3) had not been established. Id. at 32-34. The Barraza Plaintiffs ultimately
14    dismissed their claims without prejudice. Docs. 106, 107. No appeal has been filed.
15                  2.     Federal Preemption Ruling.
16           Defendants moved for summary judgment on the grounds that Plaintiffs’ state law
17    claims are expressly preempted by the Medical Device Amendments of 1976 (“MDA”),
18    21 U.S.C. § 360 et seq., and impliedly preempted by the MDA under the Supreme
19    Court’s conflict preemption principles.     Doc. 5396.    The Court denied Defendants’
20    motion. Doc. 8872. Defendants have appealed this ruling. Docs. 11934, 11953.
21           The MDA curtails state regulation of medical devices through a provision that
22    preempts state requirements that differ from or add to federal requirements. 21 U.S.C.
23
24           3
                These individual issues would arise from several key elements of the Barraza
25    Plaintiffs’ claims: (1) whether Bard was negligent in the design of various generations of
      filters; (2) whether Bard was negligent in failing to disclose risks for various kinds of
26    filters at various points in time; (3) whether the learned intermediary defense applies;
      (4) whether assumption of risk or contributory or comparative negligence applies;
27    (5) whether the proposed medical monitoring is necessary and distinct from the ordinary
      course of treatment the class member is receiving; and (6) what state law should apply to
28    each class member’s claim. Id.


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 1    § 360k. The Bard IVC filters at issue in this litigation were cleared for market by the
 2    FDA through section “510k” review, which focuses primarily on equivalence rather than
 3    safety and effectiveness. See § 360c(f)(1)(A).
 4           The Supreme Court in Medtronic, Inc. v. Lohr, 518 U.S. 470 (1996), held that
 5    § 360k does not preempt state law claims directed at medical devices cleared through
 6    the 510(k) process because substantial equivalence review places no federal requirements
 7    on a device. Id. at 492-94. Lohr also noted that the “510(k) process is focused on
 8    equivalence, not safety.” Id. at 493 (emphasis in original). Although the Safe Medical
 9    Devices Act of 1990 (“SMDA”), Pub. L. 101-629, introduced safety and effectiveness
10    considerations into 510(k) review, it did so only comparatively. The Court found that
11    Lohr remains good law, and that clearance of a product under 510(k) generally does not
12    preempt state common law claims. Doc. 8872 at 12-14.
13           The Court found that Defendants failed to show that the 510(k) reviews for Bard
14    IVC filters imposed device-specific requirements as needed for preemption under § 360k.
15    Id. at 14-20.      Even if device-specific federal requirements could be ascertained,
16    Defendants made no showing that any particular state law claim is expressly preempted
17    by federal requirements. Id. at 21-22.
18           The Court further found that Plaintiffs’ state law claims are not impliedly
19    preempted because Defendants failed to show that it is impossible to do under federal law
20    what state laws require. Id. at 22-24.
21                  3.      The Lehman Report Privilege and Work Product Rulings.
22           The Court granted Defendants’ motion for a protective order to prevent Plaintiffs
23    from using the December 15, 2004 report of Dr. John Lemann. Doc. 699. Dr. Lehmann
24    provided various consulting services to Bard at different times. Following Bard’s receipt
25    of potential product liability claims involving the Recovery filter, Bard’s legal
26    department retained Dr. Lehmann in November 2004 to provide an assessment of the
27    risks associated with the Recovery filter and the extent of Bard’s legal exposure.
28
      Dr. Lehmann prepared a written report of his findings at the request of the legal


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 1    department and in anticipation of litigation. The Court found the report to be protected
 2    from disclosure by the work product doctrine. Id. at 4-12. The Court further found that
 3    Plaintiffs had not shown a substantial need for the report or undue hardship if the report
 4    were not disclosed. Id. at 13-15. The Court agreed with the parties that this ruling does
 5    not alter any prior rulings by transferor judges in specific cases. Id. at 22.
 6                  4.     Daubert Rulings.
 7           The Court has ruled on the parties’ Daubert motions and refers the transferor
 8
      courts to the following orders:
 9
10
                                        Daubert Order                            Doc. No(s).
11
              Order on Motion to Disqualify Plaintiffs’ Expert                   9428,
12
              Dr. Thomas Kinney                                                  10323
13
              Order on Motion to Disqualify Plaintiffs’ Experts                  9432
14            Drs. Scott Resnick, Robert Vogelzang, Kush Desai, and
15            Robert Lewandowski

16            Order on Motions to Exclude Opinions of Plaintiffs’ Experts 9433
              Drs. David Kessler and Suzanne Parisian
17
18            Order on Motion to Exclude Opinions of Plaintiffs’ Experts         9434
              Drs. Thomas Kinney, Anne Christine Roberts, and Sanjeeva
19            Kalva
20
              Order on Motion to Exclude Opinions of Plaintiffs’ Expert          9770
21            Dr. Mark Eisenberg
22            Order on Motion to Exclude Opinions of Plaintiffs’ Expert          9771
23            Dr. Derek Muehrcke

24
              Order on Motion to Exclude Opinions of Plaintiffs’ Expert          9772
25            Dr. Darren Hurst
26
              Order on Motion to Exclude Opinions of Plaintiffs’ Expert          9773
27            Dr. Rebecca Betensky
28


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 1
             Order on Motion to Exclude Opinions of Defendants’ Expert 9991,
 2           Dr. Clement Grassi                                        10230
 3
             Order on Motion to Exclude Opinions of Plaintiffs’ Expert      10051
 4           Dr. Robert McMeeking
 5
             Order on Motion to Exclude Opinions of Plaintiffs’ Expert      10052
 6
             Dr. Robert Ritchie
 7
 8           Order on Motion to Exclude Opinions of Plaintiffs’ Experts     10072
             Drs. David Garcia and Michael Streiff
 9
10           Order on Motion to Exclude Opinions of Defendants’ Expert 10230,
             Dr. Christopher Morris                                    10231
11
12
                   5.      Motion in Limine Rulings.
13
                           a.    FDA Evidence (Cisson Motion).
14
            In the Booker bellwether trial, Plaintiffs sought to exclude, under Federal Rules of
15
      Evidence 402 and 403, evidence of FDA 510(k) clearance of Bard IVC filters and the
16
      lack of FDA enforcement action against Bard. Doc. 9529. The Court denied the motion.
17
      Docs. 9881, 10323.
18
            The Court found that under Georgia Law, which applied in both the Booker and
19
      Jones bellwether cases, compliance with federal regulations may not render a
20
      manufacturer’s design choice immune from liability, but evidence of Bard’s compliance
21
      with the 510(k) process was nonetheless relevant to the design defect and punitive
22
      damages claims under Georgia law.       Doc. 9881 at 3-4.      The Court acknowledged
23
      concerns that FDA evidence might mislead the jury or result in a mini-trial. Id. at 5-6
24
      (citing In re C.R. Bard, Inc., Pelvic Repair Sys. Prods. Liab. Litig. (Cisson), No. 2:10-
25
      CV-01224, 2013 WL 3282926, at *2 (S.D.W. Va. June 27, 2013)). But the Court
26
      concluded that such concerns could be adequately addressed by efficient management of
27
      the evidence and adherence to the Court’s time limits for trial, and, if necessary, by a
28


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 1    limiting instruction regarding the nature of the 510(k) process. Id. at 6-7.4
 2           The Court noted that the absence of any evidence regarding the 510(k) process
 3    would run the risk of confusing the jury, as many of the relevant events in this litigation
 4    occurred in the context of FDA 510(k) review and are best understood in that context.
 5    Doc. 9881 at 7. Nor was the Court convinced that all FDA-references could adequately
 6    be removed from the evidence. Id.
 7           The Court further concluded that it would not exclude evidence and arguments by
 8    Defendants that the FDA took no enforcement action against Bard with respect to the G2
 9    and Eclipse filters, or evidence regarding information Bard provided to the FDA in
10    connection with the 510(k) process. Docs. 10323 at 2-3 (Booker), 11011 at 4-5 (Jones).
11    The Court found that the evidence was relevant to the negligent design and punitive
12    damages claims under Georgia law. Id. The Court determined at trial that it had no basis
13    to conclude that the FDA’s lack of enforcement was intended by the FDA as an assertion,
14    and thus should not be barred as hearsay. See Trial Tr. Day 8, at 1681:1-6, Booker v.
15    C. R. Bard, Inc. (D. Ariz. Mar. 26, 2018).
16           Finally, the Court held that Defendants would not be permitted to present evidence
17    or argument that the FDA “approved” Bard filters for market, or that clearance of the
18    devices under 510(k) review constitutes a finding by the FDA that the filters are “safe
19    and effective.” Id.; see 21 C.F.R. § 807.97.
20                         b.     FDA Warning Letter.
21           Defendants moved to exclude, under Federal Rules of Evidence 402 and 403,
22    evidence of the July 13, 2015 FDA warning letter issued to Bard. Doc. 9864 at 2-3. The
23    Court granted the motion in part, excluding as irrelevant topics 1, 2, 4(a), 4(b), 5, 6, 7,
24    and 8 of the warning letter. Docs. 10258 at 6-8 (Booker), 10805 at 1 (Jones). Topics 1
25    and 2 concern the Recovery Cone retrieval system; Topic 4(a) concerns the filter cleaning
26
             4
27            The Court did not find a limiting instruction necessary at the close of either the
      Booker or Jones bellwether trials. See Trial Tr. Day 11, at 2447:18-19, Booker v. C. R.
28    Bard, Inc. (D. Ariz. Mar. 29, 2018).


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 1    process; and Topics 4(b), 5, 6, 7, and 8 concern the Denali Filter. The Court concluded
 2    that none of these topics was relevant to the issues in the first two bellwether cases
 3    involving a G2 filter (Booker) and an Eclipse filter (Jones). Id.
 4            The Court found that topic 3, concerning Bard’s complaint handling and reporting
 5    of adverse events with respect to the G2 and Eclipse filters, as well as the adequacy of
 6    Bard’s evaluation for the root cause of the violations, was relevant to rebut the
 7    implication at trial that the FDA took no action with respect to Bard IVC filters. See
 8    Trial Tr. Day 9, at 1888:21 to 1892:25, Booker v. C. R. Bard, Inc. (D. Ariz. Mar. 27,
 9    2018); Doc. 11256. The Court concluded that the warning letter was admissible under
10    Federal Rule of Evidence 803(8), and thus should not be barred as hearsay. Doc. 10258
11    at 7.    The Court further concluded that the probative value of topic 3 was not
12    substantially outweighed by the danger of unfair prejudice to Bard under Rule 403. The
13    Court admitted the warning letter in redacted form during the first two bellwether trials.
14    See Docs. 10565, 11256.
15                         c.     Recovery Cephalad Migration Death Evidence.
16            Defendants moved to exclude, under Federal Rules of Evidence 402 and 403,
17    evidence of cephalad migration (i.e., migration of the filter toward the patient’s heart) by
18    a Recovery filter resulting in patient death. The Court denied the motion for the Booker
19    bellwether trial, which involved a G2 filter. Docs. 10258 at 4-5, 10323 at 4. Defendants
20    have appealed this ruling. Docs. 11934, 11953.
21            The Court granted the motion for the Jones bellwether trial, which involved an
22    Eclipse filter, and denied Plaintiff’s requests for reconsideration of the ruling before and
23    during trial. See Docs. 10819, 10920, 11041, 11113, 11256, 11302; see also Trial Tr.
24    Day 10, at 2224:3 to 2226:24, Jones v. C. R. Bard, Inc. (D. Ariz. May 30, 2018).
25    Plaintiff Jones has appealed those rulings. Docs. 12057, 12071.
26            The Court concluded for purposes of the Booker bellwether trial that evidence of
27    cephalad migrations by the Recovery filter resulting in patient death was necessary for
28    the jury to understand the issues that prompted the creation and design of the G2 filter,


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 1    and thus was relevant to Plaintiff’s design defect claims. Doc. 10323 at 4. In addition,
 2    because the Recovery filter was the predicate device for the G2 filter in Defendants’
 3    510(k) submission to the FDA, and Defendants asserted to the FDA that the G2 was as
 4    safe and effective as the Recovery, the Court concluded that the safety and effectiveness
 5    of the Recovery filter was at issue. Id. The Court was concerned, however, that too
 6    heavy an emphasis on deaths caused by cephalad migration of the Recovery filter – a
 7    kind of migration which did not occur in the G2 filter generally or the Booker case
 8    specifically – would result in unfair prejudice to Defendants that substantially
 9    outweighed the probative value of the evidence. Id. The Court monitored this issue
10    during trial, but found that the death evidence was not over-emphasized by Plaintiffs.
11           The Court initially concluded for purposes of the Jones bellwether trial, which
12    involved the Eclipse filter, that evidence of cephalad migration deaths by the Recovery
13    filter was inadmissible because it was only marginally relevant to Plaintiff’s claims. See
14    Docs. 10819, 10920, 11041, 11113, 11256, 11302. This is because cephalad migration
15    did not continue in any significant degree beyond the Recovery; cephalad migration
16    deaths all occurred before the Recovery was taken off the market in late 2005; Ms. Jones
17    did not receive her filter until 2010; the deaths said nothing about three of Ms. Jones’
18    four claims (strict liability design defect and the failure to warn claims); and instances of
19    cephalad migration deaths were not substantially similar to complications experienced by
20    Ms. Jones and therefore did not meet the Georgia standard for evidence on punitive
21    damages. Docs. 10819, 11041.
22           The Court also found that deaths caused by a non-predicate device (the Recovery
23    was not the predicate device for the Eclipse in Defendants’ 510(k) submission), and by a
24    form of migration that was eliminated years earlier, were of sufficiently limited probative
25    value that their relevancy was substantially outweighed by the danger of unfair prejudice
26    because the death evidence may prompt a jury decision based on emotion. Id. The Court
27    further concluded that Plaintiff Jones would not be seriously hampered in her ability to
28    prove Recovery filter complications, testing, and design when references to cephalad


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 1    migration deaths are removed. Doc. 11041. As a result, the Court held that such
 2    references should be redacted from evidence to be presented during the Jones bellwether
 3    trial.
 4             The Court made sure to balance this concern with the competing concern that it
 5    would be unfair for Defendants to present statistics about the Recovery filter and not
 6    allow Plaintiffs to present competing evidence that included Recovery deaths. See, e.g.,
 7    Trial Tr. Day 2, at 242:18 to 242:23, Jones v. C. R. Bard, Inc. (D. Ariz. May 16, 2018).
 8    Based on this concern, Plaintiffs argued at various points during the trial that Defendants
 9    had opened the door to presenting evidence about Recovery cephalad migration deaths.
10    The Court repeatedly made fact-specific determinations on this point, and held that even
11    though Defendants presented some evidence that made the Recovery evidence more
12    relevant, the danger of unfair prejudice continued to substantially outweigh the probative
13    value of the evidence. See Docs. 11113, 11302; Trial Tr. Day 10, at 2224:3 to 2226:24,
14    Jones v. C. R. Bard, Inc. (D. Ariz. May 30, 2018).
15                          d.     Simon Nitinol Filter Evidence.
16             Plaintiffs sought to exclude evidence of complications associated with the SNF on
17    the grounds that Plaintiffs were barred from conducting relevant discovery into the design
18    and testing of the SNF under CMO No. 10 (Doc. 1319). The Court denied Plaintiffs’
19    request. Doc. 10489. The Court did not agree that Plaintiffs were foreclosed from
20    obtaining relevant evidence for rebuttal. The Court had foreclosed this discovery because
21    Plaintiffs do not contend that the SNF is defective. Id. at 2. Nor did Plaintiffs explain
22    how discovery into the design and testing of the SNF would have produced any
23    information on failure rates the SNF experienced after it was on the market. Id. at 2-3.
24    Plaintiffs also had rebuttal evidence showing that reported failure rates for the SNF were
25    lower than Recovery and G2 failure rates. Id. The Court ultimately concluded it would
26    not preclude Defendants from presenting its SNF evidence on the basis of a discovery
27    ruling and invited Plaintiffs to make appropriate evidentiary objections at trial. Id. at 3.
28


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 1                           e.    Use of Testimony of Withdrawn Experts.
 2           Defendants sought to preclude, under Federal Rules of Evidence 804 and 403,
 3    Plaintiffs’ use at trial of the depositions of three defense expert witnesses, Drs. Moritz,
 4    Rogers, and Stein, who originally were retained by Bard but had since been withdrawn in
 5    some or all cases. Doc. 10255 at 2. The Court denied the request in part. Doc. 10382.
 6    The Court found that Defendants failed to show that the depositions of these experts are
 7    inadmissible on hearsay grounds, but agreed that it would be unfairly prejudicial under
 8    Rule 403 to disclose to the jury that the experts originally were retained by Bard. Id.
 9    at 2-3. The Court therefore concluded that Plaintiffs could use portions of the experts’
10    depositions that support Plaintiffs’ claims, but could not disclose to the jury that the
11    experts originally were retained by Bard. Id. at 3. The Court was concerned about the
12    presentation of cumulative evidence, and therefore required Plaintiffs to show that no
13    other expert of similar qualifications is available or that the unavailable expert has some
14    unique testimony to contribute, before the deposition of any withdrawn expert may be
15    used at trial. Id. at 3-4.
16                           f.    Other Motion in Limine Rulings.
17           The Court’s other motion in limine rulings (Docs. 10075, 10235, 10258, 10947)
18    may be useful in other jurisdictions.      The Court refers the transferor courts to the
19    following motions and orders to assist in preparing for trial:5
20
              Parties’ Joint Stipulation on Motions in Limine in Booker: The Court, on
21             stipulation of the parties, excluded evidence, argument, and testimony
               concerning several case-specific issues in the Booker bellwether trial, as well
22             as a few general issues, including: Bard’s 1994 criminal conviction; other
23             lawsuits or claims against Bard; advertising by Plaintiff’s counsel; Plaintiffs’
               counsel specializing in personal injury or products liability litigation;
24             contingency fee agreements; and advertising by any counsel nationally for any
25             IVC filter cases. Doc. 10235.

26           5
               The Court also ruled on the parties’ motions in limine concerning several case-
27    specific issues. See Docs. 10075 (Plaintiff’s MIL No. 12 in Booker), 10258 (Plaintiff’s
      MIL Nos. 6 and 13 in Booker), 10947 (Defendants’ MIL No. 1 and Plaintiff’s MIL
28    Nos. 1-4 and 7 in Jones).


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 1           Defendants’ MIL No. 1 in Booker: The Court permitted evidence and
 2            testimony concerning Recovery filter complications. Doc. 10258 at 1-5; see
              Doc. 10819 (Jones). As noted above, the Court permitted evidence and
 3            testimony concerning Recovery filter cephalad migrations resulting in patient
 4            death in the Booker bellwether trial involving a G2 Filter (Doc. 10323 at 4),
              but excluded such evidence in the Jones bellwether trial involving an Eclipse
 5            filter (Docs. 10819, 10920, 11041).
 6           Defendants’ MIL No. 2 in Booker: The Court permitted evidence and
 7            testimony relating to the development of the Recovery filter. Doc. 10258
              at 5-6; see Doc. 10819 at 2-3 (Jones).
 8
 9           Defendants’ MIL No. 4 in Booker: The Court excluded evidence and
              testimony concerning a photograph of Bard employee Michael Randall making
10            an offensive gesture to a camera. Doc. 10075 at 1-2.
11
             Defendants’ MIL No. 5 in Booker: The Court permitted Plaintiff’s expert
12            Dr. Thomas Kinney to be called as a fact witness, but prohibited him from
              testifying regarding his prior work for Bard as an expert witness in two prior
13            IVC filter cases or as a paid consultant to Bard. Docs. 10075 at 2-3, 10323
14            at 4.
15           Plaintiff’s MIL No. 2 in Booker: The Court reserved ruling until trial on
16            evidence and testimony regarding the nature of Bard’s business, including the
              nature, quality, and usefulness of its products, the conscientiousness of its
17            employees, and references to its mission statement. Doc. 10075 at 3-4.
18           Plaintiff’s MIL No. 3 in Booker: The Court permitted evidence and testimony
19            concerning the benefits of IVC filters, including testimony describing Bard
              filters as “lifesaving” devices. Doc. 10258 at 8.
20
21           Plaintiff’s MIL No. 4 in Booker: The Court permitted evidence and testimony
              that IVC filters, including Bard filters, are within the standard of care for the
22            medical treatment of pulmonary embolism. Doc. 10258 at 8-9. Defendants
23            agreed to not characterize IVC filters as the “gold standard” for the treatment
              of pulmonary embolisms. Id. at 8.
24
             Plaintiff’s MIL No. 5 in Booker: The Court denied as moot the motion to
25            exclude evidence and argument relating to failure rates, complication rates,
26            percentages, or comparative analysis of any injuries that were not produced to
              Plaintiffs during discovery, as all such information was produced. Doc. 10075
27            at 4.
28


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 1           Plaintiff’s MIL No. 7 in Booker: The Court excluded evidence and argument
 2            relating to prior judicial opinions about Plaintiff’s experts, including the
              number of times their testimony has been precluded in other cases. Id.
 3
             Plaintiff’s MIL No. 8 in Booker: The Court excluded evidence and argument
 4
              that a verdict against Defendants will have an adverse impact on the medical
 5            community, future medical device research or costs, and the availability of
              medical care. Id. at 4-5.
 6
 7           Plaintiff’s MIL No. 9 in Booker: The Court deferred ruling on the relevance
              of statements or lack of statements from medical societies, including the
 8            Society of Interventional Radiologists (“SIR”), until trial. Doc. 10258
 9            at 14-18. The Court ultimately admitted this evidence in both the Booker and
              Jones bellwether trials.
10
             Plaintiff’s MIL No. 10 in Booker: The Court excluded evidence and
11
              testimony that Bard needed FDA consent to add warnings to its labels, send
12            warning letters to physicians and patients, or recall its filters. Id. at 18-19. The
              Court permitted evidence and argument explaining the reasons why Bard filters
13            were not recalled, FDA’s potential involvement in any recall effort, and the
14            fact that warnings about failure rates and increased risks could not be based on
              MDR and MAUDE data alone. Id.
15
16           Plaintiff’s MIL No. 11 in Booker: The Court permitted evidence and
              argument relating to the informed consent form signed by Plaintiff prior to
17            insertion of the IVC filter, even though the form is not specific to IVC filters or
              Bard filters. Doc. 10075 at 5-6
18
19           Plaintiff’s MIL No. 14 in Booker: The Court reserved ruling until trial on
              evidence and argument relating to background information and personal traits
20            of Bard employees and witnesses. Id. at 7.
21
             Plaintiff’s MIL No. 6 in Jones: The Court permitted evidence and testimony
22            concerning whether a party’s expert had been retained by the same attorneys in
23            other litigation. Doc. 10947 at 8-9.

24           Plaintiff’s MIL No. 5 in Jones: The Court excluded evidence and testimony
              that Bard employees or their relatives have received Bard IVC filter implants.
25            Id. at 9-10.
26
             Defendants’ MIL No. 2 in Jones: The Court excluded evidence and testimony
27            of other lawsuits against Bard. Id. at 11.
28


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 1                  6.       Deposition Designation Rulings.
 2           The Court has ruled on numerous objections to deposition designations for trial
 3    and refers the transferor courts to the following orders:6
 4
                             Deponent                      Depo. Date      Doc. No(s).
 5
 6           Bill Altonaga                                 10/22/2013     10497, 10922

 7           Christine Brauer                              05/23/2014     10922,
 8                                                         08/02/2017     10922

 9           David Ciavarella                              11/12/2013     10403
10           Gary Cohen                                    01/25/2017     10438
11
             Robert Cortelezzi                             11/11/2016     10438, 11064
12
             Len DeCant                                    05/24/2016     10438, 11080
13
14           John DeFord                                   06/02/2016     10524, 11080

15           Mary Edwards                                  01/20/2014     10438
16           Robert Ferrara                                04/17/2017     10438
17
             Chris Ganser                                  10/11/2016     10438, 11073
18
             Jason Greer                                   08/11/2014     10438, 10922
19
20           Janet Hudnall                                 11/01/2013     10403

21           Brian Hudson                                  01/17/2014     10403
22           John Lehmann                                  08/07/2014     10922
23
             William “Bill” Little                         07/27/2016     10438, 11064
24
             John McDermott                                02/05/2014     10438
25
26
27           6
              In addition to the depositions identified in the table, the Court ruled on numerous
28    objections to case-specific deposition designations for trial.


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 1
                             Deponent                      Depo. Date       Doc. No(s).
 2
             Patrick McDonald                              07/29/2016      10486, 11064
 3
 4           Mark Moritz                                   07/18/2017      10922

 5           Daniel Orms                                   08/16/2016      10403, 11073
 6           Abithal Raji-Kubba                            07/18/2016      11064
 7
             Gin Schulz                                    01/30/2014      10403
 8
             Christopher Smith                             08/03/2017      11073
 9
10           William Stavropoulos                          02/01/2017      10524

11           Jack Sullivan                                 11/03/2016      10486,
12                                                         09/16/2016      11080

13           Melanie Sussman                               04/07/2017      11073
14           Mehdi Syed                                    03/02/2018      11313
15
             Scott Trerotola                               01/20/2017      10524
16
             Douglas Uelmen                                10/04/2013      10403, 11080
17
18           Carol Vierling                                05/11/2016      10486, 11073

19           Mark Wilson                                   01/31/2017      10922
20           Natalie Wong                                  10/18/2016      10403
21
22           I.     Further Proceedings in Remanded Cases.
23                  1.       General Discovery.
24           Because all general fact and expert discovery has been completed in this MDL, the
25    transferor courts need not be concerned with facilitating general expert, corporate, and
26    third-party discovery on remand. This is not meant to restrict the power of transferor
27    courts for good cause or in the interest of justice to address issues that may be unique and
28    relevant in remanded cases.


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 1                  2.     Case-Specific Discovery and Trial Preparation.
 2           According to the parties, the status of the remaining discovery and other pretrial
 3    issues for the cases being remanded, and the estimated time needed to resolve such issues
 4    and make the cases ready for trial, are listed in Exhibit 2. Final trial preparation in the
 5    bellwether trials was governed by certain Court orders. See Docs. 8871, 10323, 10587,
 6    11011, 11320, 11321.
 7           J.     Documents to Be Sent to Transferor Courts.
 8           If the Panel agrees with the Court’s suggestion of remand of the 10 mature cases
 9    and issues a final remand order (“FRO”), the Clerk of the Court for this District will issue
10    a letter to the transferor courts, via email, setting out the process for transferring the
11    individual cases listed in the FRO. The letter and certified copy of the FRO will be sent
12    to each transferor court’s email address.
13           Upon receipt of the FRO, the parties shall furnish to the Clerk for this District a
14    stipulation or designation of the contents of the record or part thereof to be remanded.
15    See J.P.M.L Rule 10.4(a). The Clerk shall transmit to the respective transferor court the
16    following concerning each remanded action: (1) a copy of the individual docket sheet for
17    each action remanded, (2) a copy of the master docket sheet in this MDL, (3) the entire
18    file for each action remanded, as originally received from the transferor district, (4) a
19    copy of any final pretrial order entered in the remanded action (if applicable), and (5) a
20    “record on remand” as designated by the parties. See J.P.M.L Rule 10.4(b).
21           If a party believes that the docket sheet for a particular case being remanded is not
22    correct, a party to that case may, with notice to all other parties in the case, file with the
23    transferor court a designation amending the record. Upon receiving such designation, the
24    transferor court may make any needed changes to the docket. If the docket is revised to
25    include additional documents, the parties should provide those documents to the
26    transferor court.
27           K.     Conclusion.
28           Pursuant to J.P.M.L. Rule 10.1(b)(i), the Court suggests that the Panel remand the


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 1    10 mature cases listed on Schedule A to their transferor districts for further proceedings.
 2    The Clerk shall forward a certified copy of this order to the Panel.
 3           IT IS SO ORDERED.
 4
             Dated this 7th day of September, 2018.
 5
 6
 7
 8
 9
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12
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 1
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 3
      IN RE: BARD IVC FILTERS PRODUCTS                           MDL NO. 2641
 4
      LIABILITY LITIGATION
 5
                                         SCHEDULE A
 6
 7                                Suggestion of Remand Cases
 8                Middle District of Florida
 9
            Tillman v. C. R. Bard, Inc., No. 3:13-cv-0222
10          Ocasio v. C. R. Bard, Inc., No. 8:13-cv-01962
11
                  Northern District of Georgia
12
13          Cason v. C. R. Bard, Inc., No. 1:12-cv-01288
            Coker v. C. R. Bard, Inc., No. 1:13-cv-00515
14
15                Eastern District of Michigan

16          Rivera (McClarty) v. C. R. Bard, No. 4:14-cv-13627
17
                  Eastern District of Pennsylvania
18
            Ebert v. C. R. Bard, Inc., No. 5:12-cv-01253
19
            Keen v. C. R. Bard, Inc., No. 5:13-cv-05361
20
                  Eastern District of Texas
21
22          Smith v. C. R. Bard, Inc., No. 1:13-cv-00633
23                Northern District of Texas
24
            Fox v. C. R. Bard, Inc., No. 3:14-cv-00133
25
26                Eastern District of Wisconsin

27          Henley v. C. R. Bard, Inc., No. 2:14-cv-00059
28


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 1    IN RE: BARD IVC FILTERS PRODUCTS                                     MDL NO. 2641
 2    LIABILITY LITIGATION

 3
                                            EXHIBIT 1
 4
 5                                         MDL Orders
 6
                               CASE MANAGEMENT ORDERS
 7
      Date Filed   Docket No   Docket Text
 8
      10/30/2015   248         Case Management Order No. 1 re Leadership Counsel
 9                             Appointments
      11/16/2016   4016        Amended Case Management Order No. 1 re Leadership Counsel
10                             Appointments
11    03/21/2017   5285        Second Amended Case Management Order No. 1 re Plaintiff
                               Leadership Team
12    10/30/2015   249         Case Management Order No. 2 re Setting Deadlines, First Phase
                               of Discovery
13
      12/01/2015   314         Case Management Order No. 3 re Non-waiver Order Pursuant to
14                             Rule 502(d)
      12/17/2015   363         Case Management Order No. 4 re Master Complaint, Responsive
15                             Pleadings, Short Form Complaint, Waiver, and Answer
16    12/17/2015   365         Case Management Order No. 5 re Plaintiff and Defendant Profile
                               Forms
17    03/03/2016   927         Amended Case Management Order No. 5 re Plaintiff and
                               Defendant Profile Forms
18
      12/18/2015   372         Case Management Order No. 6 re Rules to Establishing Common
19                             Benefit Fee
      01/05/2016   401         Case Management Order No. 7 re Stipulations Concerning
20                             Redactions
21    02/02/2016   519         Case Management Order No. 8 re Second Phase of Discovery
      03/31/2016   1259        Case Management Order No. 9 re Electronically Stored
22                             Information and production protocol
      04/01/2016   1319        Case Management Order No. 10 re Second Phase Discovery,
23                             Bellwether, ESI, FDA, Deposition, and Privilege Log
24    05/05/2016   1662        Case Management Order No. 11 re Bellwether Selection Process
      05/05/2016   1663        Case Management Order No. 12 re Joint Record Collection
25    06/21/2016   2238        Case Management Order No. 13 re ESI, FDA Warning Letter and
26                             Designations
      06/21/2016   2239        Case Management Order No. 14 re Deposition Protocols
27    08/25/2016   3214        Case Management Order No. 15 re Lexecon Waivers, ESI
                               Discovery, Multi-plaintiff Actions, and Deceased Plaintiffs
28    08/25/2016   3215        Case Management Order No. 16 re Deadlines Related to Barraza


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 1    12/02/2016   4141    Amended Case Management Order No. 16 re Deadlines Related to
                           Barraza
 2
      09/14/2016   3372    Case Management Order No. 17 re Protective Order and
 3                         Expedited ESI Production
      11/16/2016   4015    Amended Case Management Order No. 17 re Protective Order and
 4                         Redactions of Material from Expedited ESI Production
 5    10/17/2016   3685    Case Management Order No. 18 re Adjusted Discovery Schedule
      12/13/2016   4311    Case Management Order No. 19 re ESI and Bellwether Selection
 6    12/22/2016   4335    Case Management Order No. 20 re Discovery Deadlines for
                           Discovery Group 1 and Bellwether Group 1
 7    02/06/2017   4866    Case Management Order No. 21 re Discovery Protocols for
 8                         Discovery Group 1
      02/17/2017   5007    Case Management Order No. 22 re Setting Deadlines
 9    05/05/2017   5770    Case Management Order No. 23 re Expert Deposition Deadlines,
                           Bellwether Case Selection, Preemption Motion for Summary
10
                           Judgment, and Mature Cases
11    05/19/2017   5881    Case Management Order No. 23 re Discovery Protocols for
                           Bellwether Group 1
12    05/19/2017   5883    Amended Case Management Order No. 24 re Discovery Protocols
13                         for Bellwether Group 1
      06/06/2017   6227    Case Management Order No. 25 re Bellwether Group 1 Amended
14                         Discovery Schedule
      07/17/2017   6799    Case Management Order No. 26 re Depositions of Dr. Henry and
15
                           Dr. Altonaga, Communications among Plaintiffs’ Experts, and
16                         Bellwether Trial Issues
      10/10/2017   8113    Case Management Order No. 27 re Privilege Issues, Bellwether
17                         Trial Schedule, Plaintiffs’ Motion for Partial Summary Judgment,
                           and Recusal Unnecessary
18
      11/21/2017   8871    Case Management Order No. 28 re Booker Bellwether Trial
19                         Schedule, and Mature Cases
      12/21/2017   9415    Case Management Order No. 29 re Booker Bellwether Trial
20                         Schedule, Motion to Certify Appeal, and Cisson Motion Briefing
21    01/23/2018   9775    Case Management Order No. 30 re Motions Hearings, Motions in
                           Limine, and Punitive Damages in Booker
22    03/02/2018   10323   Case Management Order No. 31 re Booker Trial
      05/07/2018   11011   Case Management Order No. 32 re Jones Trial
23
      06/01/2018   11320   Case Management Order No. 33 re Mulkey as Next Bellwether
24                         Selection, and Mulkey Trial Schedule
      06/28/2018   11659   Case Management Order No. 34 re Next 3 Bellwether Trials,
25                         Kruse Trial Schedule, Use of Dr. Kandarpa at Trial, Sixth
26                         Bellwether Tinlin, Disposition of SNF Cases, and Remand of
                           Mature Cases
27    07/13/2018   11871   Case Management Order No. 35 re September, November and
                           May Bellwether Trials, and Hyde September Bellwether Trial
28                         Schedule


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 1    08/02/2018   12061       Case Management Order No. 36 re Tinlin Bellwether Pre-trial
                               Schedule
 2
 3
                                     DISCOVERY ORDERS
 4
      Date Filed   Docket No   Docket Text
 5    10/30/2015   249         Case Management Order No. 2 re Setting Deadlines, First Phase of
 6                             Discovery
      02/02/2016   519         Case Management Order No. 8 re Second Phase of Discovery
 7
      03/31/2016   1259        Case Management Order No. 9 re Electronically Stored
 8                             Information and production protocol
 9    04/01/2016   1319        Case Management Order No. 10 re Second Phase Discovery,
                               Bellwether, ESI, FDA, Deposition, and Privilege Log
10    05/05/2016   1663        Case Management Order No. 12 re Joint Record Collection
      06/21/2016   2238        Case Management Order No. 13 re ESI, FDA Warning Letter and
11                             Designations
12    06/21/2016   2239        Case Management Order No. 14 re Deposition Protocols
      08/25/2016   3214        Case Management Order No. 15 re Lexecon Waivers, ESI
13                             Discovery, Multi-plaintiff Actions, and Deceased Plaintiffs
      08/29/2016   3272        Order re Deposition of Jim Beasley
14
      09/06/2016   3312        Order re discovery disputes concerning Plaintiffs’ communications
15                             with FDA
      09/06/2016   3313        Order re Plaintiffs’ communications with NBC or other media
16                             outlets and admissibility at trial
      09/06/2016   3314        Order re Plaintiffs’ third party funding arrangements
17
      09/14/2016   3372        Case Management Order No. 17 re Protective Order and
18                             Expedited ESI Production
      11/16/2016   4015        Amended Case Management Order No. 17 re Protective Order and
19                             Redactions of Material from Expedited ESI Production
20    09/16/2016   3398        Order re ESI generated by foreign entities that sell filters abroad
      10/17/2016   3685        Case Management Order No. 18 re Adjusted Discovery Schedule
21    12/13/2016   4311        Case Management Order No. 19 re ESI and Bellwether Selection
      12/22/2016   4335        Case Management Order No. 20 re Discovery Deadlines for
22                             Discovery Group 1 and Bellwether Group 1
23    12/24/2016   4339        Order re proposed depositions of and interrogatories to Plaintiffs’
                               counsel
24    02/06/2017   4865        Order re discovery dispute on ex parte communications with
                               treating physicians and depositions of treating physicians and sales
25
                               representatives
26    02/06/2017   4866        Case Management Order No. 21 re Discovery Protocols for
                               Discovery Group 1
27    05/05/2017   5770        Case Management Order No. 23 re Expert Deposition Deadlines,
28                             Bellwether Case Selection, Preemption Motion for Summary
                               Judgment, and Mature Cases


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 1    05/19/2017   5881        Case Management Order No. 23 re Discovery Protocols for
                               Bellwether Group 1
 2
      05/19/2017   5883        Amended Case Management Order No. 24 re Discovery Protocols
 3                             for Bellwether Group 1
      06/06/2017   6227        Case Management Order No. 25 re Bellwether Group 1 Amended
 4                             Discovery Schedule
 5    07/17/2017   6799        Case Management Order No. 26 re Depositions of Dr. Henry and
                               Dr. Altonaga, Communications among Plaintiffs’ Experts, and
 6                             Bellwether Trial Issues
 7                         DISCOVERY AND PRIVILEGE ORDERS
 8    Date Filed   Docket No   Docket Text
      12/01/2015   314         Case Management Order No. 3 re Non-waiver Order Pursuant to
 9
                               Rule 502(d)
10    02/11/2016   699         Order re Motion for Protective Order concerning Dr. John
                               Lehmann's December 15, 2004, report as protected work product
11    07/25/2016   2813        Order re Plaintiffs’ Motion to Compel (Privilege Log Issues)
12    02/06/2017   4865        Order re discovery dispute on ex parte communications with
                               treating physicians and depositions of treating physicians and sales
13                             representatives
      07/17/2017   6799        Case Management Order No. 26 re Depositions of Dr. Henry and
14                             Dr. Altonaga, Communications among Plaintiffs’ Experts, and
15                             Bellwether Trial Issues
      10/10/2017   8113        Case Management Order No. 27 re Privilege Issues, Bellwether
16                             Trial Schedule, Plaintiffs’ Motion for Partial Summary Judgment,
                               and Recusal Unnecessary
17
      10/20/2017   8315        Order that Plaintiffs need not produce the withheld expert
18                             communications or provide a privilege log on these
                               communications to Defendants.
19
                                      DAUBERT ORDERS
20
      Date Filed   Docket No   Docket Text
21    12/21/2017   9428        Order re Motion to Disqualify Plaintiffs' Expert Thomas Kinney,
22                             M.D.
      12/21/2017   9432        Order re Motion to Disqualify Plaintiffs' Experts Drs. Resnick,
23                             Vogelzang, and Desai
      12/22/2017   9433        Order re Motion to Exclude Plaintiffs' Experts Drs. Parisian and
24
                               Kessler
25    12/22/2017   9434        Order re Motion to Exclude Plaintiffs' Experts Drs. Kinney,
                               Roberts, and Kalva
26    01/22/2018   9770        Order re Motion to Exclude Plaintiffs' Expert Dr. Eisenberg
27    01/22/2018   9771        Order re Motion to Exclude Plaintiffs' Expert Dr. Muehrcke
      01/22/2018   9772        Order re Motion to Exclude Plaintiffs' Expert Dr. Hurst
28
      01/22/2018   9773        Order re Motion to Exclude Plaintiffs' Expert Dr. Betensky


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 1    02/06/2018   9991        Order re Motion to Exclude Bard's Expert Dr. Grassi
 2    02/08/2018   10051       Order re Motion to Exclude Plaintiffs' Expert Dr. McMeeking
      02/08/2018   10052       Order re Motion to Exclude Plaintiffs' Expert Dr. Ritchie
 3    02/12/2018   10072       Order re Motion to Exclude Plaintiffs' Experts Drs. Garcia and
 4                             Streiff
      02/21/2018   10230       Order re Motion to Exclude Bard's Experts Drs. Grassi and Morris
 5    02/21/2018   10231       Order re Motion to Exclude Bard's Expert Dr. Morris
 6                              MOTIONS IN LIMINE ORDERS
 7    Date Filed   Docket No   Docket Text
 8    01/23/2018   9775        Case Management Order No. 30 re Motions Hearings, Motions in
                               Limine, and Punitive Damages in Booker
 9    01/26/2018   9861        Joint Stipulation re prohibiting raising certain issues in the
10                             presence of the jury for Booker Bellwether case
      01/29/2018   9881        Order re admissibility of (1) pre-market clearance of Bard IVC
11                             filters by FDA and (2) the lack of FDA Enforcement Action
                               against Bard
12    02/15/2018   10075       Order re Motions in Limine re Photographs of Mike Randall, Dr.
13                             Kinney work for Bard, Benevolent Activities, Evidence Not
                               Produced in Complaint Files, Prior Judicial Opinions, Adverse
14                             Impact of a Plaintiff's Verdict, Informed Consent Form, Dr. Kang
                               Social Media Posts, Personal Traits of Employees and Witnesses
15                             for Booker Bellwether case
16    02/22/2018   10235       Order re Parties' Joint Stipulation re prohibiting raising certain
                               issues in the presence of the jury for Booker Bellwether case
17    03/01/2018   10258       Order re Motions in Limine re Recovery® Filter Complications,
                               Recovery® Filter Development, FDA Warning Letter, IVC Filter
18
                               as Lifesaving Devices, IVC filters are Gold Standard, Nonparties
19                             at Fault, Statements from Associations and Other Groups, FDA
                               Consent for Warnings or Recalls for Booker Bellwether case
20    03/09/2018   10382       Order re Plaintiff's use of the depositions of Drs. Moritz, Rogers,
                               and Stein at trial
21
      03/19/2018   10489       Order re Simon Nitinol Filter complication evidence
22    04/18/2018   10819       Order re reconsideration motions relating to Recovery® Filter
                               Evidence and cephalad Migration Deaths for Jones Bellwether
23                             case
24    04/27/2018   10920       Order re Plaintiff’s motion for reconsideration of Court Order
                               excluding evidence of Recovery® Filter Cephalad Migration
25                             Deaths for Jones Bellwether case
      05/03/2018   10947       Order re Motions in Limine re (1) Case Specific Medical Issues
26                             (2) Relatives receipt of IVC Filters, (3) Experts Retained In Other
27                             Litigation, (4) Attorney Advertising, (5) Other Lawsuits for Jones
                               Bellwether case
28    05/08/2018   11041       Order re cephalad migration deaths for Jones Bellwether case


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 1    05/15/2018   11082       Order re reconsideration of Recovery migration deaths
 2    05/29/2018   11256       Order re cephalad migration, Recovery filter and deaths and FDA
                               evidence for Jones Bellwether case
 3
                           DEPOSITION DESIGNATION ORDERS
 4
      Date Filed   Docket No   Docket Text
 5    03/07/2018   10348       Order re deposition designations for Booker Bellwether case
      03/12/2018   10403       Order re deposition designations for Booker Bellwether case
 6
      03/14/2018   10438       Order re deposition designations for Booker Bellwether case
 7    03/19/2018   10486       Order re deposition designations for Booker Bellwether case
      03/21/2018   10497       Order re deposition designations for Booker Bellwether case
 8
      03/26/2018   10524       Order re deposition designations for Booker Bellwether case
 9    05/01/2018   10922       Order re deposition designations for Jones Bellwether case
10    05/10/2018   11064       Order re deposition designations for Jones Bellwether case
      05/11/2018   11073       Order re deposition designations for Jones Bellwether case
11    05/14/2018   11080       Order re deposition designations for Jones Bellwether case
12    05/31/2018   11313       Order re deposition designations for Jones Bellwether case

13                               MISCELLANEOUS ORDERS

14    Date Filed   Docket No   Docket Text
      11/10/2015   269         Amended Stipulated Protective Order re Confidentiality
15
      11/22/2017   8872        Order re Bard’s Motion for Summary Judgment on Preemption
16                             Grounds
      11/22/2017   8874        Order re Bard’s Motion for Summary Judgment for Booker
17                             Bellwether case
18    03/12/2018   10404       Order re Bard’s Motion for Summary Judgment for Jones
                               Bellwether case
19    03/30/2018   10587       Order re final trial preparation and setting Final Pretrial
                               Conference for Jones Bellwether case.
20    06/01/2018   11321       Order re final trial preparation and setting Final Pretrial
21                             Conference for Mulkey Bellwether case.

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 1    IN RE: BARD IVC FILTERS PRODUCTS                                      MDL NO. 2641
 2    LIABILITY LITIGATION

 3
                                             EXHIBIT 2
 4
           Parties’ Proposed Case-Specific Trial Readiness Steps and Estimated Time
 5
 6           While certain fact and expert discovery was conducted in the 10 mature cases
 7    prior to the formation of the MDL, the Court directed the parties that further case-specific
 8    discovery in these cases should await their remand. Docs. 3214, at 3; 8871 at 5. Fact and
 9    expert discovery and certain motions practice remains to be done, or updated, in these
10    cases. As to the steps needed to make the cases trial ready, Defendants report as follows:
11           With the exception of the disputed actions noted below, the parties agree as to the
12    steps required for remaining fact and expert discovery, and motions practice, in these
13    cases. The parties intend to substitute MDL generic experts for previously designated
14    generic experts in these cases, with rare exceptions. Should a party request to add
15    another expert, the parties have agreed to meet and confer on the request, and failing
16    agreement, to seek a ruling by motion to the transferor court for permission to add the
17    expert, and allow the transferor court to rule on the request. The parties disagree on
18    whether the showing required for such request is “good cause” or “exceptional
19    circumstances.”
20           If previously designated experts have already been deposed and Daubert rulings
21    issued, the parties agree that these experts may update their reports to include MDL
22    discovery and the parties may depose such experts on the supplemental portions of their
23    reports.   The parties will meet and confer on whether new Daubert challenges are
24    warranted. The parties agree that there will be no new Daubert motions as to generic
25    experts who were designated in the MDL. Any additional Daubert motions filed in these
26    cases will be limited to case-specific experts, and any such motion will be filed only if
27    the time in which to file such motions in the transferor court had not passed and if there
28    was no ruling on a prior Daubert motion filed in the case as to that expert. The parties


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 1    also agree that the time needed to complete fact and expert discovery in each case is
 2    approximately 180 days.       The parties have agreed to request a case management
 3    conference with the transferor court in each case to discuss which of the MDL court’s
 4    motion in limine rulings the transferor court intends to adopt, or declines to adopt, based
 5    on application of the state law applicable to each case.
 6
 7                                          Disputed Issues

 8    Disputed Issue             Plaintiffs’ Position                Defendants’ Position
 9
      Updated depositions of     Plaintiffs’ position is that        Defendants’ position is that a
10    corporate and third        limited additional                  purpose of the MDL was to
      party witnesses            depositions of corporate and        manage all generic discovery
11
                                 third party witnesses may be        relevant to the litigation.
12                               appropriate in some cases           Defendants object to
                                 with unique facts not covered       Plaintiffs taking additional
13                               in the MDL generic                  depositions of corporate or
14                               deposition of that witness.         third party witnesses in these
                                 Plaintiffs believe that the         cases as it amounts to
15                               transferor court can make           discovery that was permitted
16                               decisions as to the propriety       by the MDL Court and
                                 of such additional                  should have been done in
17                               depositions.                        discovery in the MDL.
18    Updated depositions of     Plaintiffs’ position is that this   Defendants’ position is that
      implanting physicians,     should be in the sound              re-deposition of implanters
19    physicians who             discretion of the transferor        or other treaters in these
20    prescribed the Bard        court as it involves case-          cases is not appropriate
      filter, and treating       specific issues. Plaintiffs         except to elicit information
21    physicians                 reserve the right to re-depose      from those treaters relating to
22                               these categories of treating        care provided to Plaintiffs
                                 physicians based on                 since the time of transfer of
23                               discovery that has occurred         the case, which testimony is
                                 since the formation of this         relevant to causation or
24
                                 MDL, which has had                  damages. Should Plaintiffs
25                               jurisdiction over these cases       request deposition of any
                                 during its pendency, and            treater previously deposed in
26
                                 which discovery, in part, was       the case, the parties must
27                               the basis of these cases not        meet and confer on the
                                 being remanded earlier.             request and, failing
28                               Plaintiffs submit that              agreement, the party seeking


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 1    Disputed Issue             Plaintiffs’ Position               Defendants’ Position
 2
                                 prejudice to these early           such deposition shall seek a
 3                               remands having been                ruling, by motion to the
 4                               removed from their existing        transferor court, for
                                 trial track for almost 3 years     permission to take such
 5                               would be compounded if             deposition, demonstrating
                                 they were singled out as the       good cause under the criteria
 6
                                 only MDL-transferred cases         required by FRCP
 7                               that would not have the            30(a)(2)(A)(ii) and 26(b)(1)
                                 benefit of such additional         and (2).
 8
                                 discovery.
 9    Showing required to        Plaintiffs’ position is that the   Defendants’ position is that
      request designation of a   necessary showing should be        the necessary showing
10    new expert who is          “good cause.”                      should be “exceptional
11    neither an MDL                                                circumstances.”
      designated expert nor
12    an expert designated in
13    the case prior to
      transfer
14    Defendants’ Motion for     Plaintiffs believe that in the     Defendants’ position is that
15    502(d) Order Protecting    cases where the transferor         the MDL Court previously
      Any Attorney Client        court has not ruled on the         ruled that “the parties agree
16    Privilege and Work         issues presented in this           that this Court’s ruling
17    Product Revealed           motion, that Plaintiffs are        should not affect prior
      Regarding Upcoming         entitled to a ruling from the      rulings on this issue in other
18    Motion for Protective      transferor court applying the      cases. See Docs. 306 at 21-
19    Order (Lehman)             law applicable to the case.        23, 379 at 29-30. This ruling
                                                                    shall operative prospectively
20                                                                  only, and shall apply in all
                                                                    MDL cases where the issue
21
                                                                    has not previously been
22                                                                  decided.” Doc. 699 at 22.
                                                                    As such, to the extent that a
23
                                                                    transferor court has not ruled
24                                                                  on these issues, the MDL
                                                                    Court’s ruling must apply
25                                                                  and Plaintiffs may not
26                                                                  reargue the issue in the
                                                                    transferor court.
27
28


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